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Detention Order Pending Trial

                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF MICHIGAN
                                            NORTHERN DIVISION

UNITED STATES OF AMERICA
                                                                    Case No: 09-20536-08
v.

JOHNNY MARSHALL
                                             /


                                      DETENTION ORDER PENDING TRIAL


         After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f), I

conclude that these facts require that the Defendant be detained pending trial.



Part I - Findings of Fact

A.       Motion to Detain (18 U.S.C. §§ 3142(a) and 3142(f)(1))

XX       (1)       The Government moved for detention at the Defendant’s first appearance

pursuant to:

                   XX           18 U.S.C. § 3142(f)(1).

                   __           18 U.S.C. § 3142(f)(2).

__       (2)       A detention hearing was held on this judicial officer’s motion pursuant to 18

                   U.S.C. § 3142(f)(2). See part D for findings.

B.       Rebuttable Presumption – Defendant on Release Pending Trial (18 U.S.C.

§3142(e)(2))

__       (1)       The Defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1),

                   and has previously been convicted of a crime listed in 18 U.S.C. § 3142(f)(1), or

                   comparable state or local offense.


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__      (2)     The offense described in finding was committed while the Defendant was on

                release pending trial for a federal, state or local offense.

__      (3)     A period of less than five years has elapsed since

        __      the date of conviction, or

        __      the Defendant’s release from prison for the offense described in finding (B)(1).

__      (4)     Findings (B)(1), (2) and (3) establish a rebuttable presumption that no condition

                or combination of conditions will reasonably assure the safety of another person

                or the community.

C.      Rebuttable Presumption – Probable Cause (18 U.S.C. § 3142(e)(3))

There is probable cause to believe that the Defendant has committed an offense:

        XX      for which a maximum prison term of ten years or more is prescribed in the

                Controlled Substances Act (21 U.S.C. § 801 et seq.)1, or

        __      under 18 U.S.C. § 924(c), 18 U.S.C. § 956(a) or 18 U.S.C. § 2332b, or

        __      listed in 18 U.S.C. § 2332b(g)(5) (federal crimes of terrorism) for which the

                prison term is 10 or more years, or

        __      listed in 18 U.S.C. §§ 1581-1594 (slavery or trafficking in persons), or

        __      involving a minor victim listed in 18 U.S.C. § 3142(e)(3)(E).

D.      Findings Pursuant to 18 U.S.C. § 3142(f)(2)

XX      (1)     There is a serious risk that the Defendant will not appear.

__      (2)     There is a serious risk that the Defendant will endanger the safety of another

                person or the community.




        1
         Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances
Import and Export Act (21 U.S.C. § 951 et seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).

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Part II - Statement of the Reasons for Detention

I find that the testimony and information submitted at the detention hearing establishes:

__      by clear and convincing evidence that, for the reasons set forth below, there is no

        condition or combination of conditions which will reasonably assure the safety of the

        community; or

__      by a preponderance of the evidence that, for the reasons set forth below, there is no

        condition or combination of conditions which will reasonably assure the Defendant’s

        appearance; or

XX      both of the above.

Statement of reasons for detention pursuant to 42 U.S.C. § 3142(i):

        Having concluded that the Government timely moved for detention pursuant to 18

U.S.C. § 3142(a) in a case described in 18 U.S.C. § 3142(f), and that a rebuttable

presumption in favor of detention applies in this case, the Court must consider whether there

is sufficient evidence on the record to rebut the presumption under the factors set forth in

subsection 3142(g).

        As to the factors set forth in subsections (g)(1) and (g)(2), I find that the offense

charged involves narcotic drugs, specifically crack cocaine. I find that from the grand jury

having returned an indictment, there is a definite weight of evidence, at least rising to the

level of probable cause, supporting the charges against Defendant.

        As to subsection 3142(g)(3), I find that Defendant is currently 41 years of age and has

resided in various addresses in Missouri, as well as in Memphis, Tennessee. For the past

two months, the Defendant has been residing with his father and stepmother in St. Peters

Missouri. The Defendant has worked as a stocker in St. Charles, Missouri, and has also

worked for a temporary staffing agency, the latter apparently involving a work as a carpenter.



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Prior to the work for the staffing agency, the Defendant was self-employed as a contract

worker for 10 years in Memphis, Tennessee. The Defendant has a 10th grade education.

The Defendant has conceded to having used both cocaine and marijuana, but states his last

use was some years in the past.

       In 1989, at age 20, the Defendant pled guilty to passing a bad check and was

sentenced to five years confinement. Less than a year later the Defendant pled guilty to

assault and fugitive from justice. He was sentenced to brief periods of incarceration. Three

months later, the Defendant was charged again with passing a bad check. He pled guilty to

misdemeanor passing of a bad check, and was sentenced to six months confinement. Two

months later, at age 22, Defendant was again charged with a passing a bad check and with

possession of narcotics. The Defendant pled guilty to these charges and was sentenced to

five years confinement. Counsel for the Defendant proffers that this drug charge in fact

involved the possession of drug paraphernalia, which he believes might not be a felony under

Missouri law. The Defendant was released from custody in August, 1992 and completed his

sentence after completion of probation and parole in November, 1998. Approximately 3

years later, at age 30, the Defendant pled guilty to theft of property $500 or less. Three

months later, the Defendant pled guilty to driving while license suspended. Approximately 2

years later, at age 35, the Defendant pled guilty to driving under the influence of intoxicating

drugs. He was sentenced to just under 12 months confinement with credit for time served.

He was apparently then placed on probation. In February 2007, a bench warrant was issued

against the Defendant, apparently relating to traffic offenses. Pretrial Services reports the

warrant remains open.

       Counsel for the Defendant proffers that while the Defendant does not have extensive

family ties to this area, there are nonetheless family members either in Missouri or in

Michigan who could take in the Defendant, and in light of his up carpentry skills, he would be
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able to a find employment at either location. While it does appear that the Defendant does

have job skills, I am compelled to conclude that the Defendant has no meaningful ties to this

area within the meaning of the Bail Reform Act. I further conclude that the Defendant has

limited ties to either Missouri or Tennessee particularly in light of his unsteady residence,

especially in the recent past.

       While counsel for the Defendant is correct that his prior criminal history is not as

extensive as that of other Defendants seen in this court, at the same time, it appears that the

Defendant has not consistently abided by the terms of supervision in cases much less

serious than the charges he faces here. In addition, as noted, there is a warrant pending

against the Defendant from Tennessee. Moreover, the Government proffers that the

Defendant has failed to appear on two occasions for a traffic offense in Michigan, and a

warrant was issued. Counsel for the Defendant concedes that a warrant was issued, but

proffers that upon learning of the existence of the warrant, he promptly closed the matter.

While this may be accurate, Defendant has never before faced the potential for life

imprisonment without release, as well as the potential for lengthy incarceration on other

charges much more serious than any of his past convictions. In light of his negligible ties to

this area, these facts constitute a set of incentives to flee never before faced by Defendant.

       Therefore, in light of the Defendant’s inconsistent history of abiding by conditions of

supervision, and his lack of meaningful ties, particularly to this area, I find that the

presumption in favor of detention has not been rebutted on the evidence presented. I further

find that even if it had, there are no conditions nor any combination of conditions which would

reasonably assure the safety of the community or the Defendant’s appearance. Therefore

the Government motion to detain is GRANTED.




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Part III - Directions Regarding Detention

       The Defendant is committed to the custody of the Attorney General or a designated

representative for confinement in a corrections facility separate, to the extent practicable,

from persons awaiting or serving sentences or held in custody pending appeal. The

Defendant must be afforded a reasonable opportunity to consult privately with defense

counsel. On order of United States Court or on request of an attorney for the Government,

the person in charge of the corrections facility must deliver the Defendant to the United

States marshal for a court appearance.

       Review of this Order is governed by 18 U.S.C. § 3145 and E.D. Mich. L.R. 57.2.




                                                    s/    Charles E Binder
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                                                  CHARLES E. BINDER
Dated: December 8, 2009                           United States Magistrate Judge




                                       CERTIFICATION

      I hereby certify that this Order was electronically filed this date, electronically served
on Shane Waller and James Piazza, and served on Pretrial Services and the U.S. Marshal’s
Service in the traditional manner.

Date: December 8, 2009             By    s/Jean L. Broucek
                                   Case Manager to Magistrate Judge Binder




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